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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JACOB CORMAN, et al.,                   :    No. 1:18-CV-00443-CCC-KAJ-JBS
                                        :
                    Plaintiffs,         :
                                        :
       v.                               :
                                        :
ROBERT TORRES, et al.,                  :
                                        :
                    Defendants.         :


 BRIEF OF AMICUS CURIAE, THE REPUBLICAN CAUCUS OF THE
 PENNSYLVANIA HOUSE OF REPRESENTATIVES IN SUPPORT OF
    PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Amicus Curiae, the Republican Caucus of the Pennsylvania House of

Representatives (Caucus), requests that this Court grant the Plaintiffs’ motion for

preliminary injunction.

      This action involves fundamental questions of constitutional and legislative

authority concerning the crafting of a Congressional districting plan. The interest

of the Caucus in this case arises from the role of the General Assembly as:

             (1) the “Legislature” authorized to prescribe the “Times, Places and

                Manner of holding Elections for Senators and Representatives”

                under the Elections Clause of the United States Constitution;

             (2) the body vested with the legislative authority of the

                Commonwealth under the Pennsylvania Constitution; and
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             (3) the conduit through which the People of Pennsylvania amend the

                 Pennsylvania Constitution.

Because this authority has been reposed in the Pennsylvania General Assembly

under both the United States and Pennsylvania Constitutions, the Caucus has a

significant interest in ensuring that information related to its role is considered in

this Court’s analysis.

                          SUMMARY OF ARGUMENT

      This case arises from the Pennsylvania Supreme Court’s usurpation of the

Pennsylvania General Assembly’s legislative authority to draw its

congressional district lines through the Court’s preordained invalidation of the

lawful districts the General Assembly enacted in 2011 (the “2011 Plan”). The

Pennsylvania Supreme Court arrogated unto itself the authority to draw

Pennsylvania’s new congressional districts—a task delegated to the

“Legislature”—in violation of the Elections Clause. U.S. Const. art. I, § 4. In

addition, the Court promulgated mandatory criteria that are found nowhere in the

Pennsylvania Constitution. Unless this Court intervenes to enforce the distinction

within the state between the judiciary and “the Legislature thereof” (a phrase

which includes the People of Pennsylvania), the Elections Clause will be rendered

meaningless and the violence done to the Pennsylvania Constitution will be

profound and irreversible.

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                                    ARGUMENT

The Pennsylvania Supreme Court Violated the Elections Clause

      The U.S. Constitution vests the authority to enact Congressional districts

with the state legislatures and in Congress. See U.S. Const. art. I, § 4; Lance v.

Coffman, 549 U.S. 437, 437 (2007) (“The Elections Clause of the United States

Constitution provides that the ‘Manner of holding Elections for Senators and

Representatives, shall be prescribed in each State by the Legislature thereof.’”

Emphasis in original); Cf. Arizona State Legislature v. Arizona Indep.

Redistricting Comm'n, 135 S. Ct. 2652, 2685 (U.S. 2015) (Roberts, C.J.,

dissenting) (“[W]here there is a conflict of authority between the constitution and

legislature of a State in regard to fixing place of elections, the power of the

legislature is paramount.” Emphasis added, quotations/citations

omitted). Included within this broad grant of authority is the power to establish the

criteria by which the legislature draws Congressional districts. See Tashjian v.

Republican Party of Connecticut, 479 U.S. 208, 217 (1986); Smiley v. Holm, 285

U.S. 355, 366 (1932).

      In Pennsylvania, as elsewhere, this legislative power includes the People’s

ability to exercise the legislative power through the process of constitutional

amendment. Pa. Const. art. XI, § 1; Cf. Arizona State Legislature, 135 S.Ct. at




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2660 n.3 (emphasizing “the people’s sovereign right to incorporate themselves into

a State’s lawmaking apparatus”).

      Pennsylvania Supreme Court Chief Justice Saylor, in his January 22, 2018,

dissenting statement, summarized this basic precept when he said, “The crafting of

congressional district boundaries is quintessentially a political endeavor assigned

to state legislatures by the United States Constitution.” League of Women Voters

of Pennsylvania v. Commonwealth, 175 A.3d 282, 286 (Pa. 2018) (Saylor, C.J.,

dissenting). The Chief Justice understood that “[r]edistricting involves lawmaking

in its essential features and most important aspect.” Arizona State Legislature, 135

S. Ct. at 2667 (2015) (citation/quotation marks omitted).

      Yet, in its bare bones order on January 22, 2018, the majority of the

Pennsylvania Supreme Court manufactured new Congressional redistricting

criteria (i.e. that districts be “composed of compact and contiguous territory” and

that they “do not divide any county, city, incorporate town, borough, township, or

ward, except when necessary to ensure equality of population”). League of Women

Voters, 175 A.3d at 284. Then, 16 days later (a mere two days before the Court’s

arbitrary deadline to “submit” a map to the Governor), the majority’s subsequent

opinion appended its criteria to include a myriad of additional standards, including

a caution that there may come a time when “mapmakers” can comply with the

neutral criteria and still “operate to unfairly dilute the power of a particular group’s

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vote.” League of Women Voters of Pennsylvania v. Commonwealth, No. 159 MM

2017, slip. op. at 124, 2018 WL 750872, at *48 (Pa. Feb. 7, 2018). Effectively, the

Court has articulated a series of non-standards which may ultimately fall to raw

judicial will.

       The Pennsylvania Supreme Court’s majority, in their effort to graft new

Congressional redistricting criteria to the Pennsylvania Constitution’s Elections

Clause, have “clearly, plainly and palpably” appropriated the authority that resides

both with a co-equal branch of government, and ultimately with the People of

Pennsylvania, in violation of Article I, Section 4 of the U.S. Constitution. For

these reasons, as well as those reasons articulated by Plaintiffs, the actions of the

majority of the state Court should not be countenanced.


The Pennsylvania Constitution Can Only Be Amended by the People of

Pennsylvania

       The Pennsylvania Constitution expresses the will of the People of

Pennsylvania, and only the People can alter its content. In The Rights of Man,

Thomas Paine explained the constitution as the People’s foundational document

that delineates a government’s authority and limitations. He wrote as follows:

       A Constitution is a thing antecedent to a Government, and a
       Government is only the creature of a Constitution. The Constitution
       of a country is not the act of its Government, but of the people
       constituting a Government. … A Constitution, therefore, is to a
       Government what the laws made afterwards by that Government are
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      to a Court of Judicature. The Court of Judicature does not make the
      laws, neither can it alter them; it only acts in conformity to the laws
      made: and the Government is in like manner governed by the
      Constitution.

Thomas Paine, The Rights of Man (1791) 48 (E. P. Dutton & Co., Inc. 1951)

(italics in original). Given this description as a compact by which the People grant

limited authority to a government, Paine asserted that “[a] Government on the

principles on which constitutional Governments arising out of society are

established, cannot have the right of altering itself. If it had, it would be arbitrary.

It might make itself what it pleased; and wherever such a right is set up, it shows

there is no Constitution.” Id. at 49-50.

      The Pennsylvania Constitution has been amended numerous times. “All

amendments since 1790, whether proposed by a convention or by the legislature,

were submitted to the electorate and approved by a majority of those voting on

them before they became effective.” Robert E. Woodside, Pennsylvania

Constitutional Law 9 (Murrelle Printing Company, Inc. 1985). Article XI, Section

1 of the Pennsylvania Constitution currently requires, after passage by two General

Assemblies and publication following each passage, a “proposed amendment or

amendments shall be submitted to the qualified electors of the State … and … if

approved by a majority of those voting thereon, such amendment or amendments

shall become part of the Constitution.” Pa. Const. art. XI, § 1.


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      Article II, Section 16 of the Pennsylvania Constitution provides, in relevant

part, that in the districting of senatorial and legislative seats in the Pennsylvania

General Assembly, “[u]nless absolutely necessary no county, city, incorporated

town, borough, township or ward shall be divided.” Pa. Const. art. II, § 16.

Article II, Section 17 of the Pennsylvania Constitution establishes a Legislative

Reapportionment Commission and outlines the process by which senatorial and

legislative, as opposed to Congressional, districting plans are adopted. A product

of the 1967-1968 Pennsylvania Constitutional Convention, these two provisions of

the Pennsylvania Constitution govern redistricting of state legislative seats in the

Pennsylvania General Assembly.

      In marked contrast, no provision of the Pennsylvania Constitution

establishes express parameters for Congressional districting. It was not a focus of

the 1967-1968 Constitutional Convention and has not subsequently been addressed

via the amendment process contained in Article XI, Section 1 of the Pennsylvania

Constitution. In fact, the Pennsylvania Supreme Court has previously recognized

that, in the “context of Congressional reapportionment,” there are “no analogous,

direct textual references to such neutral apportionment criteria.” Erfer v.

Commonwealth, 794 A.2d 325, 334 n.4 (Pa. 2002) (emphasis added), abrogated

by, League of Women Voters of Pennsylvania v. Commonwealth, No. 159 MM

2017, 2018 WL 750872 (Pa. Feb. 7, 2018). Now, however, the Pennsylvania

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Supreme Court has invented them out of whole cloth, despite its admission that no

“provision of our Constitution[] articulates explicit standards which are to be used

in the creation of congressional districts.” League of Women Voters of

Pennsylvania, No. 159 MM 2017, slip. op. at 119, 2018 WL 750872, at *46.

      It is not normally the province of federal courts to review actions by a state

court which effectively amend the state’s constitution. However, the question of

what constitutes a “legislative function” under the Elections Clause is a question of

federal, not state, law. In such instances, federal courts have the final say. See

Arizona State Legislature, 135 S. Ct. at 2668; Cf. Bush v. Palm Beach Cty.

Canvassing Bd., 531 U.S. 70, 76 (2000). In “a few exceptional cases in which the

Constitution imposes a duty or confers a power on a particular branch of a State’s

government” the “text of the election law itself, and not just its interpretation by

the courts of the States, takes on independent significance,” thereby requiring

this Court to make its own review of the recent actions by the Pennsylvania

Supreme Court. Bush v. Gore, 531 U.S. 98, 112-13 (2000) (Rehnquist, C.J.,

concurring).

      There is a constitutionally-endorsed means to apply new substantive and

procedural requirements to the process of Congressional districting. For example,

House Bill 1835, Printer’s Number 3036 of the 2015 Session of the General




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Assembly would have amended Article II, Section 16 of the Pennsylvania

Constitution to add the following:

            (b) Congressional districts shall each have a population as close to the
       applicable ideal district population as possible. To the extent consistent with
       equality of population, congressional districts shall be composed of compact
       and contiguous territory and, unless absolutely necessary, no county, city,
       incorporated town, borough, township or ward shall be divided in forming
       congressional districts. Congressional districts shall respect, where
       practicable, communities of interest.
           (c) A legislative and congressional redistricting plan shall not, as a
       whole, favor a specific person, political party or political body.

This Joint Resolution, however, was never adopted by the General Assembly. 1

       By strictly adhering to Article XI, Section 1 for any amendment of the

Pennsylvania Constitution related to Congressional districting, the People will be

ensured of their right to determine the content of their foundational document.

This would harmonize districting standards with the Elections Clause and avoids

the type of constitutional crisis currently at issue.




1House Bill 1835, Printer’s Number 3036 would also have amended Article II,
Section 17 to establish a new process for both Congressional and Legislative
districting. House Bill 722, Printer’s Number 1671, introduced in the current
session of the General Assembly and referred to the House State Government
Committee, proposes amendments to Article II, Section 17 of the Pennsylvania
Constitution similar to those found in House Bill 1835.

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      For all of the foregoing reasons, Amicus Curiae, the Republican Caucus of

the Pennsylvania House of Representatives, request that this Court grant the

Plaintiffs’ motion for preliminary injunction.



                                        Respectfully,

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Dated: March 2, 2018




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                         CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing Brief was

electronically filed with the Clerk of Court on March 2, 2018, using CM/ECF,

which will send notification of such filing to counsel of record.

      I hereby certify that a true and correct copy of the foregoing Brief will be

served by first-class mail, postage prepaid, on March 2, 2018, to the following:

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